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2018R00678/AM/LH/SD/ms


                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                         Hon. John Michael Vazquez

             v.                                  Crim. No. 18-379 (JMV)

GERMAINE H. KING,                                         JUDGMENT
    a/k/a “Gemajne Howard,”                      AND ORDER  OF FORFEITURE
                                                 (MONEY JUDGMENT)
              Defendant.



       WHEREAS, on or about May 28, 2019, an Amended Second Superseding

Indictment, Crim. No. 18-379, was filed against defendant, Germaine H, King,

a/k/a “Germaine Howard,” charging him with conspiracy to commit mail and

bank fraud, contrary to 18 U.S.C.   § 1341 and 1344, in violation of 18 U.S.C.

§ 1349 (Count One); bank fraud, in violation of 18 U.S.C. § 1344 and 2
(Counts Two through Four); conspiracy to commit mail fraud, contrary to 18

U.S.C.   § 1341, in violation of 18 U.S.C. § 1349 (Count Five); and mail fraud, in
violation of 18 U.S.C.   § 1341 and 2 (Counts Six through Fifteen);
         WHEREAS, on June 20, 2019, a jury      sitting in   the District of New Jersey

found Defendant, Germaine H. King, guilty of all counts listed above;

         WHEREAS, pursuant to 18 U.S.C.       § 981(a)(lflC) and 28 U.S.C. § 2461(c),
 a person convicted of mail and bank fraud conspiracies, contrary to 18 U.S.C.

 § 1341 and 1344, in violation of 18 U.S.C. § 1349, and substantive bank
 fraud offenses, in violation of 18 U.S.C.   § 1344, shall forfeit to the United
 States all property, real and personal, that constitutes or is derived from
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proceeds the defendant obtained directly or indirectly as a result of the

conspiracy and fraud charges in Counts One though Five, and all property

traceable thereto;

      WHEREAS, during the course of the trial against defendant, Germaine H.

King, the United States demonstrated that the conspiracy and bank fraud

offenses that defendant was found guilty of impose a criminal forfeiture money

judgment in the amount of $457,000 in United States currency, and that such

an amount represents the property that constitutes or was derived from

proceeds the defendant obtained directly or indirectly as a result of the bank

and mail fraud conspiracy and substantive bank fraud offenses charged in

Counts One through Five of the Amended Second Superseding Indictment;

      WHEREAS, Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure

provides that no ancillary proceeding is required to the extent that the

forfeiture consists of a money judgment; and

      WHEREAS, good and sufficient cause has been shown,

      It is hereby ORDERED, ADJUDGED, AND DECREED:

      THAT, as a result of the offenses charged in Counts One through Five the

Amended Second Superseding Indictment, to which the defendant, Qermaine

H. King has been found guilty, and the Court having accepted the amount of

the forfeiture demonstrated during trial, the defendant shall forfeit to the

United States the sum of $457,000, representing the property that constitutes

or was derived from proceeds the defendant obtained directly or indirectly as a

result of such offenses. A money judgment in the amount of $457,000 (the


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“Money Judgment”) is hereby entered against the defendant pursuant to 18

U.S.C.   §   981(a)(1)(C) and 28 U.S.C.   §   2461, 18 U.S.C.   §   982(a)(2flA) and Federal

Rule of Criminal Procedure 32.2(b).

      IT IS FURTHER ORDERED that, upon entry of this Order of Forfeiture,

this Order is final as to the defendant, Germaine H. King, shall be deemed part

of the sentence of the defendant, and shall be included in the judgment of

conviction therewith.

      IT IS FURTHER ORDERED that all payments on the Money Judgment

shall be made by postal money order, bank or certified check, made payable, in

this instance to the United States Marshals Service, and delivered by mail to

the United States Attorney’s Office, District of New Jersey, Attn: Asset

Forfeiture and Money Laundering Unit, 970 Broad Street, 7th Floor, Newark,

New Jersey 07102, and shall indicate the defendant’s name and case number

on the face of the check.

      IT IS FURTHER ORDERED that, pursuant to 21 U.S.C.                   §   853, the United

States is authorized to deposit all payments on the Money Judgment in the

Assets Forfeiture Fund, and the United States shall have clear title to such

forfeited property.

      IT IS FURTHER ORDERED that, pursuant to Federal Rule of Criminal

Procedure 32.2(b)(3) and 21 U.S.C.        §   853(m), upon entry of this Order, the

United States Attorney’s Office is authorized to conduct any discovery needed

to identifr, locate, or dispose of property to satisfy the Money Judgment or to




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address third-party claims, including depositions, interrogatories, requests for

production of documents, and the issuance of subpoenas.

      IT IS FURTHER ORDERED that the Clerk of the Court is directed to

enter a money judgment against the defendant in favor of the United States in

the amount of $457,000.

      IT IS FURTHER ORDERED that this Court shall retain jurisdiction to

enforce this Order and to amend it as necessary.

      ORDERED this      day of   J   PtiRt%t1’ç    2020.



                                       HONORABLE JOHPV ?UVAZQUEZ
                                       United States District Judge




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